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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRIC C0.W.R-~=----,                    1




                                                  for the       NOV 2 2 2019
                                                   Southern District of California
                                                                                             CLL::HK US DI~) J H\C i COUHT
               In the Matter of the Search of                           )
                                                                                         SOUTHcF11! lJIS 11 llC I Or CAL!l·,ORNIA
                                                                                         BY                              1kPUTY
         (Briefly describe the property to be searched                  )
                                                                                       No.1 9 MJ 5 1 9 3
          or identify the person by name and address)
                                                                        )
                  Alcatel 6062W phone                                   )       Case
               IMEI No. 015126000455416                                 )
         Seized as FP&F No. 2020250600007601                            )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjwy that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A-2, incorporated herein by reference.
located in the                Southern            District of       California
                                                                ----- - - - - - - - , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated herein by reference


          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
               ~ evidence of a crime;
                    ii contraband, fruits of crime, or other items illegally possessed;
                    ri property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                          Offense Description
        21 U.S.C. § 952, 960, 963                  Importation of controlled substances, Prohibited Acts A, and Attempt and
                                                   Conspiracy

          The application is based on these facts:
        See attached Affidavit of HSI Special Agent Sapan Patel

          ii Continued on the attached sheet.
          0 Delayed notice of       days (give exact ending date if more than 30 days: - - - - ~ ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                        ~ c a n t ' s signature

                                                                                       HSI Special Agent Sapan Patel
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:     It       /"l,,,   /12
               /            '                                               ~ignature

City and state: San Diego, CA                                                        Honorable Judge Bernard G. Skomal
                                                                                            Printed name and title
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 1                                         AFFIDAVIT
 2         I, Special Agent Sapan Patel, being duly sworn, hereby state as follows:
 3                                      INTRODUCTION
 4         1.    I submit this affidavit in support of an application for a warrant to search the
 5 following electronic device(s):
 6                      Motorola XT 1924-7 phone
 7                      IMEINo.354138092806678
 8                      Seized as FP&F No. 2020250600007601
 9                      ("Target Device 1")
10
11                      Alcatel 6062W phone
12                      IMEINo. 015126000455416
13                      Seized as FP&F No. 2020250600007601
14                      ("Target Device 2")
15 (collectively "Target Devices) as further described in Attachments A-1 and A-2, and to
16 seize evidence of crimes, specifically violations of Title 21, United States Code, Section(s)
17 952, 960 and 963, as further described in Attachment B.
18         2.    The requested warrant relates to the investigation and prosecution of Arthur
19 Harvey ("Defendant l") and Gabriel Miller ("Defendant 2") for importing approximately
20 32.68 kilograms (72.04 pounds) ofmethamphetamine from Mexico into the United States.
21 See U.S. v. Harvey et al Case No. 19-mj-4604 (S.D. Cal.) at ECF No. 1 (Complaint). The
22 Target Devices are currently in the evidence vault located at 880 Front Street Suite 3200,
23 San Diego, CA 92101.
24         3.    The information contained in this affidavit is based upon my training,
25 expenence, investigation, and consultation with other members of law enforcement.
26 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
                                                                          \
27 Target Devices, it does not contain all the information known by me or other agents
28 regarding this investigation. All dates and times described are approximate.

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 1                                        BACKGROUND
 2         4.     I have been employed as a Special Agent with Homeland Security
 3 Investigations (HSI) since December 2017. I am currently assigned to the HSI Office of
 4 the Special Agent in Charge, in San Diego, California. I am a graduate of the Federal Law
 5 Enforcement Training Center in Glynco, Georgia.
 6         5.     During my tenure with HSI, I have participated in the investigation of various
 7 drug trafficking organizations involved in the importation and distribution of controlled
 8 substances into and through the Southern District of California.
 9         6.     Through my training, experience, and conversations with other members of
1O law enforcement, I have gained a working knowledge of the operational habits of narcotics
11 traffickers, in particular those who attempt to import narcotics into the United States from
12 Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
13 work in concert with other individuals and to do so by utilizing cellular telephones. Because
14 they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
15 out various tasks related to their trafficking activities, including, e.g., remotely monitoring
16 the progress of their contraband while it is in transit, providing instructions to drug couriers,
17 warning accomplices about law enforcement activity, and communicating with co-
18 conspirators who are transporting narcotics and/or proceeds from narcotics sales.
19         7.     Based upon my training, experience, and consultations with law enforcement
20 officers experienced in narcotics trafficking investigations, and all the facts and opinions
21   set forth in this affidavit, I know that cellular telephones (including their Subscriber
22 Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
23 for example, phone logs and contacts, voice and text communications, and data, such as
24 emails, text messages, chats and chat logs from various third-party applications,
25 photographs, audio files, videos, and location data. In particular, in my experience and
26 consultation with law enforcement officers experienced in narcotics trafficking
27 investigations, I am aware that individuals engaged in drug trafficking commonly store
28 photos and videos on their cell phones that reflect or show co-conspirators and associates

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 1 engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds

 2 and assets from drug trafficking, and communications to and from recruiters and
 3 organizers.
 4         8.     This information can be stored within disks, memory cards, deleted data,
 5 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 6 telephone. Specifically, searches of cellular telephones may yield evidence:
 7
           a.    tending to indicate efforts to import methamphetamine, or some other
 8               federally controlled substance, from Mexico into the United States; '
 9
           b.    tending to identify accounts, facilities, storage devices, and/or services-
10               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate the importation of methamphetamine, or some other federally
11
                 controlled substance, from Mexico into the United States;
12
           c.    tending to identify co-conspirators, criminal associates, or others involved
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                 in importation of methamphetamine, or some other federally controlled
14               substance, from Mexico into the United States;
15
           d.    tending to identify travel to or presence at locations involved in the
16               importation of methamphetamine, or some other federally controlled
                 substance, from Mexico into the United States, such as stash houses, load
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                 houses, or delivery points;
18
           e.    tending to identify the user of, or persons with control over or access to,
19
                 the Target Device; and/or
20
           f.    tending to place in context, identify the creator or recipient of, or establish
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                 the time of creation or receipt of communications, records, or data involved
22               in the activities described above.
23
                         FACTS SUPPORTING PROBABLE CAUSE
24
           9.    On October 20, 2019, at approximately 2:49 p.m., Defendant 1 and Defendant
25
     2 applied for permission to enter the United States at the Otay Mesa Port of Entry vehicle
26   primary lane 4. Defendant 1 was the driver and registered owner of a 2002 Chevrolet Trail
27
     Blazer ("the vehicle"). Defendant 2 was in the front passenger seat of the vehicle.
28
     Defendant 1 and Defendant 2 were referred for secondary inspection, and Customs and

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 1 Border Protection Officers (CBPO) discovered 62 packages concealed within the rear
 2 quarter panel and spare tire of the vehicle. The packages weighed approximately 32.68 kg
 3 (72.04 lbs.), and field-tested positive as methamphetamine. Defendant 1 and Defendant 2
 4 were subsequently arrested. Target Device 1 was seized from the vehicle and Target Device
 5 2 was seized from Defendant 2. Target Device 1 and Target Device 2 were seized by CBPO
 6 V.Le.
 .7             10.    Later, agents read Defendant 1 his Miranda rights, and he agreed to speak to
 8 agents without an attorney present. Defendant 1 denied lmowledge of the drugs in his
 9 vehicle. Defendant 1 further stated that he had the only keys for the vehicle, only he drove
1O the vehicle, and only he and Defendant 2 were in the vehicle while in Mexico. Agents also
11 read Defendant 2 her Miranda rights, and she agreed to speak to agents without an attorney
12 present. Defendant 2 denied knowledge of the drugs in the vehicle and stated that she and
13 Defendant 1 did not travel together to Mexico; instead, she and Defendant 1 coordinated
14 to meet in Mexico. According to CBPO V. Le, Target Device 2 was seized from Defendant
15 2's purse. 1
16              11.    In light of the above facts, Defendants' statements, and my own experience
17 and training, there is probable cause to believe that Defendant 1 and Defendant 2 were
18 using Target Device 1 and Target Device 2, respectively, to communicate with each other
19 and others to further the importation of illicit narcotics into the United States. Additionally,
20 on October 24, 2019, Defendant waived Indictment and was charged by Information with
21 one count of violating Title 21, United States Code, Sections 952 and 960, in the Southern
22 District of California in case number 19-cr-4581-GPC.
23              12.    In my training and experience, narcotics traffickers may be involved in the
24 planning and coordination of a drug smuggling event in the days and weeks prior to an
25    1   On the date of Defendants' arrest, and during a subsequent de-brief of Arthur Harvey (Defendant
26 1), Harvey unlocked Target Device 1 and provided agents with a Mexican telephone number, which
      Harvey stated belonged to the individual from whom he purchased the vehicle. In an abundance of
27 caution, the Government asks the Court not to consider information agents may or may not have
      seen during that examination in determining whether there is probable cause for the requested
28 warrant. The facts supporting probable cause in this affidavit do not include information found in the
      examination of the cellphones.
                                                         4
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 1 event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
 2 attempt to communicate with a defendant after their arrest to determine the whereabouts of
 3 the narcotics. Based on my training and experience, it is also not unusual for individuals,
 4 such as Defendant 1 and Defendant 2, to attempt to minimize the amount of time they were
 5 involved in their smuggling activities, and for the individuals to be involved for weeks and
 6 months longer than they claim. Accordingly, I request permission to search Target Device
 7 1 and Target Device 2 for data beginning on July 21, 2019, and ending on October 21,
 8 2019, which was the day following Defendants' arrest.
 9                                      METHODOLOGY
10         13. . It is not possible to determine, merely by knowing the cellular telephone's
11 make, model and serial number, the nature and types of services to which the device is
12 subscribed and the nature of the data stored on the device. Cellular devices today can be
13 simple cellular telephones and text message devices, can include cameras, can serve as
14 personal digital assistants and have functions such as calendars and full address books and
15 can be mini-computers allowing for electronic mail services, web services and rudimentary
16 word processing. An increasing number of cellular service providers now allow for their
17 subscribers to access their device over the internet and remotely destroy all of the data
18 contained on the device. For that reason, the device may only be powered in a secure
19 environment or, if possible, started in "flight mode" which disables access to the network.
20 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
21 equivalents 8?-d store information in volatile memory within the device or in memory cards
22 inserted into the device. Current technology provides some solutions for acquiring some of
23 the data stored in some cellular telephone models using forensic hardware and software.
24 Even if some of the stored information on the device may: be acquired forensically, not all
25 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
26 data acquisition or that have potentially relevant data stored that is not subject to such
27 acquisition, the examiner must inspect the device manually and record the process and the
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 1 results using digital photography. This process is time and labor intensive and may take
 2 weeks or longer.
 3         14.   Following the issuance of this warrant, I will collect the subject cellular
 4 telephone and subject it to analysis. All forensic analysis of the data contained within the
 5 telephone and its memory cards will employ search protocols directed exclusively to the
 6 identification and extraction of data within the scope of this warrant.
 7         15.   Based on the foregoing, identifying and extracting data subject to seizure
 8 pursuant to this warrant may require a range of data analysis techniques, including manual
 9 review, and, consequently, may take weeks or months. The personnel conducting the
1O identification and extraction of data will complete the analysis within 90 days, absent
11 further application to this court.
12                      PRIOR ATTEMPTS TO OBTAIN TIDS EVIDENCE
13         16.   Law enforcement has not previously attempted to obtain the evidence sought
14 by this warrant.
15                                       CONCLUSION
16         17.   Based on the facts and information set forth above, there is probable cause to
17 believe that a search of Target Device 1 and Target Device 2 will yield evidence of
18 Defendants' violations of Title 21, United States Code, Sections 952, 960 and 963.
19         18.   Because Target Device 1 and Target Device 2 were seized at the time of
20 Defendants' arrest and have been securely stored since that time, there is probable cause to
21 believe that such evidence continues to exist on Target Device 1 and Target Device 2. As
22 stated above, I believe that the appropriate date range for this search is from July 21, 2019
23 to October 21, 2019.
24         19.   Accordingly, I request that the Court issue a warrant authorizing law
25 enforcement to search the item(s) described in Attachments A-1 and A-2 and seize the
26 items listed in Attachment Busing the above-described methodology.
27
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 1 I swear the foregoing is true and correct to the best ofmy knowledge and belief.
 2
 3
                                          Special Agent Sapan Patel
 4
                                          Homeland Security Investigations
 5
     Subscribed and sworn to before me this
                                              ...._,   day of November, 2019.
 6
 7
 8
     Hon.~
 9 United States Magistrate Judge

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                                     ATTACHMENT A-ll
 1
 2                             PROPERTY TO BE SEARCHED
 3
     The following property is to be searched:
 4
           Motorola XTl 924-7 phone
 5
           IMEI No. 354138092806678
 6         Seized as FP&F No. 2020250600007601
           ("Target Device 1")
 7
 8
 9
   The Target Device is currently in the possession ofHomela;nd Security Investigations,
10 880 Front Street Suite 3200: San Diego, CA 92101.
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                                    ATTACHMENT A-2
 1
 2                             PROPERTY TO BE SEARCHED
 3
     The following property is to be searched:
 4
   Alcatel 6062W phone
 5
   UvlEI No. 015126000455416
 6 Seized as FP&F No. 2020250600007601
 7 ("Target Device 2")
 8 The Target Device is currently in the possession of Homeland Security Investigations,
 9 880 Front Street Suite 3200, San Diego, CA 92101.
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                                       A'fTACHMENTB
 1
 2                                  ITEMS TO BE SEIZED
 3
         Authorization to search the cellular telephone described in Attachments A-1 and
 4 A-2 includes the search of disks, memory cards, deleted data, renmant data, slack space,
   and temporary or permanent files contained on or in the cellular telephone for evidence
 5
   described below. The seizure and search of the cellular telephone shall follow the
 6 search methodology described in the affidavit submitted in support of the warrant.
 7
         The evidence to be seized from the cellular telephone will be electronic records,
 8 communications, and data such as emails, text messages, chats and chat logs from
   various third-party applications, photographs, audio files, videos, and location data, for
 9
   the period between July 21, 2019, to October 21, 2019:
10
          a.    tending to indicate efforts to import methamphetamine, or some other
11
                federally controlled substance, from Mexico into the United States; .
12
13       b.     tending to identify accounts, facilities, storage devices, and/or services-
                such as email addresses, IP addresses, and phone numbers-used to
14              facilitate the importation of methamphetamine, or some other federally
15              controlled substance, from Mexico into the United States;

16         C.    tending to identify co-conspirators, criminal associates, or others involved
17               in importation of methamphetamine, or some other federally controlled
                 substance, from Mexico into the United States;
18
19         d.    tending to identify travel to or presence at locations involved in the
                 importation of methamphetamine, or some other federally controlled
20               substance, from Mexico into the United States, such as stash houses, load
21               houses, or delivery points;

22         e.    tending to identify the user of, or persons with control over or access to,
23               Target Device 1 and Target Device 2; and/or

24         f.    tending to place in context, identify the creat,or or recipient of, or establish
25               the time of creation or receipt of communications, records, or data involved
                 in the activities described above;
26
27 which are evidence of violations ofTitle 21, United States Code, Sections 952,960 and
   963
28

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